Case 24-10015-ELG             Doc 11         Filed 05/09/24 Entered 05/10/24 00:30:02                  Desc Main
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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF COLUMBIA
   PDF FILE WITH AUDIO FILE ATTACHMENT

         2024-10015
         Birchington, LLC et al v. SSHCOF II Washington DC, LLC et al



         Case Type :                    ap
         Case Number :                  2024-10015
         Case Title :                   Birchington, LLC et al v. SSHCOF II Washington DC, LLC et al

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